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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

                                              :
IN RE NATIONAL FOOTBALL                       :       No. 2:12-md-02323-AB
PLAYERS’ CONCUSSION                           :
INJURY LITIGATION                             :       MDL No. 2323
                                              :
                                              :
THIS DOCUMENT RELATES TO:                     :
All Actions                                   :
                                              :


                                 CERTIFICATE OF SERVICE

       I hereby certify that, on October 31, 2012, pursuant to paragraph 8 of Case Management

Order No. 1 (ECF No. 4), the foregoing Memorandum of Plaintiffs’ in Opposition to Defendants

National Football League’s and NFL Properties LLC’s Motion to Dismiss the Amended Master

Administrative Long-Form Complaint was served via the Electronic Case Filing (ECF) system in

the United States District Court for the Eastern District of Pennsylvania, on all parties registered

for CM/ECF in the above captioned matter.



                                                      ANAPOL SCHWARTZ




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